Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 1 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 2 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 3 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 4 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 5 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 6 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 7 of 15




                                                               EX3168-007
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 8 of 15




                                                               EX3168-008
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 9 of 15




                                                               EX3168-009
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 10 of 15




                                                                EX3168-010
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 11 of 15




                                                                EX3168-011
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 12 of 15
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 13 of 15




                                                                EX3168-013
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 14 of 15




                                                                EX3168-014
Case 3:20-cr-00249-RS   Document 675-21   Filed 06/06/25   Page 15 of 15




                                                                EX3168-015
